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                         Exhibit “F”
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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

     IN RE:
                                                          Case No. 19-42834
     MUHAMMAD NASIR SIDDIQI                               Chapter 7

                                     Debtor

                      MOTION TO SHOW CAUSE WHY THE DEBTOR
                   SHOULD NOT BE HELD IN CONTEMPT OR SANCTIONED

    YOUR RIGHTS MAY BE AFFECTED BY THE RELIEF SOUGHT IN THIS PLEADING. YOU SHOULD READ THIS PLEADING
    CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. IF YOU OPPOSE
    THE RELIEF SOUGHT BY THIS PLEADING, YOU MUST FILE A WRITTEN OBJECTION, EXPLAINING THE FACTUAL
    AND/OR LEGAL BASIS FOR OPPOSING THE RELIEF.

    NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A WRITTEN OBJECTION IS FILED WITH THE CLERK OF
    THE UNITED STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS PLEADING WITHIN
    TWENTY-ONE (21) DAYS FROM THE DATE OF SERVICE SHOWN IN THE CERTIFICATE OF SERVICE UNLESS
    THE COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO OBJECTION IS TIMELY SERVED
    AND FILED, THIS PLEADING SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER
    GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
    THEREAFTER SET A HEARING WITH APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR AT THE HEARING, YOUR
    OBJECTION MAY BE STRICKEN. THE COURT RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.

            COMES NOW Mark A Weisbart, the duly appointed Chapter 7 Trustee (“Trustee”) for the

    bankruptcy estate of Muhammad Nasir Siddiqi, files this Motion to Show Cause Why the Debtor

    Should Not Be Held in Contempt or Sanctioned (the “Motion”) pursuant to 11 U.S.C. §§ 105(a).

    In support of this Motion, the Trustee would respectfully show the Court as follows:

                                  I. FACTUAL AND PROCEDURAL BACKGROUND

            1.      On October 16, 2019 (the “Petition Date”), Muhammad Nasir Siddiqi (“Debtor”)

    filed a voluntary petition for relief under Chapter 7 of title 11 of the United States Code (the

    “Bankruptcy Code”.)

            2.      Thereafter, Trustee was appointed as the interim chapter 7 Trustee for the Debtor’s

    bankruptcy estate pursuant to 11 U.S.C. § 701, who has since become the permanent trustee in

    accordance with 11 U.S.C. § 702(d).



    Motion to Show Cause Why the Debtor Should Not Be Held in Contempt or Sanctioned             Page 1
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            3.      On October 16, 2019, Debtor filed his petition for relief and his schedules of assets.

    A copy of Debtor’s Schedules A/B and C are attached hereto as Exhibit “A”.

            4.      Trustee objected to Debtor’s exemptions and on September 28, 2020 an agreed

    order regarding Trustee’s objection was entered by the Court [Dkt #64] (the “Agreed Order”). A

    copy of the Agreed Order is attached hereto as Exhibit “B”.

            5.      The Agreed Order required Debtor to amend his Schedules and turn over his non-

    exempt vehicles, both which he failed to do. In particular, Debtor scheduled two “Ford Tahoes”

    claiming one of them as exempt. Notwithstanding, the fact that Ford does not make a Tahoe,

    Debtor should have turned over the non-exempt Tahoe to Trustee, together with the title months

    ago.

            6.      Trustee therefore requests a hearing to show cause why Debtor should not be held

    in contempt, including turnover of the non-exempt “Tahoe”, monetary sanctions for loss of value

    since entry of the agreed exemption order, and imprisonment, if necessary.

                                           II. REQUESTED RELIEF

            7. The 11 U.S.C. § 105(a) provides that the Court may enter any order that is necessary

    or appropriate to carry out the provisions of Title 11.

            8. In light of the Debtor’s failure and refusal to comply with the Agreed Order, the Trustee

    requests that the Court enter setting a hearing to show cause why the Debtor should not be held in

    contempt.

                                                  III. PRAYER

            WHEREFORE, Trustee prays that the Court enter an Order granting the relief requested

    and granting Trustee such other and further relief to which he is justly entitled.




    Motion to Show Cause Why the Debtor Should Not Be Held in Contempt or Sanctioned                Page 2
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                                                    Respectfully Submitted,

                                                    /s/ Mark A Weisbart
                                                    Mark A Weisbart
                                                    Texas Bar No. 21102650
                                                    THE LAW OFFICE OF MARK A. WEISBART
                                                    12770 Coit Road, Suite 541
                                                    Dallas, TX 75251
                                                    (972) 628-4903 Phone
                                                    mark@weisbartlaw.net

                                                    COUNSEL FOR CHAPTER 7 TRUSTEE




                                       CERTIFICATE OF SERVICE

            The undersigned hereby certifies that a copy of the foregoing instrument was served on the
    parties on the attached mailing list in accordance with LBR 9013(f) either through the Court’s
    electronic notification system as permitted by Appendix 5005 III. E. to the Local Rules of the U.S.
    Bankruptcy Court for the Eastern District of Texas, or by first class United States Mail, postage
    prepaid on this the 3rd day of September 2021.
                                                         /s/ Mark A Weisbart
                                                         Mark A Weisbart




    Motion to Show Cause Why the Debtor Should Not Be Held in Contempt or Sanctioned             Page 3
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   Fill in this information to identify your case and this filing:

   Debtor 1                    Muhammad Nasir Siddiqi
                               First Name                                 Middle Name                    Last Name

   Debtor 2
   (Spouse, if filing)         First Name                                 Middle Name                    Last Name


   United States Bankruptcy Court for the:                      EASTERN DISTRICT OF TEXAS

   Case number            19-42834                                                                                                                                     Check if this is an
                                                                                                                                                                        amended filing



  Official Form 106A/B
  Schedule A/B: Property                                                                                                                                             12/15
  In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
  think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
  Answer every question.

   Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

  1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

      No. Go to Part 2.
      Yes.      Where is the property?




   1.1                                                                            What is the property? Check all that apply
          6701 Haven Hurst
          Street address, if available, or other description
                                                                                        Single-family home                            Do not deduct secured claims or exemptions. Put
                                                                                         Duplex or multi-unit building                 the amount of any secured claims on Schedule D:
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                         Condominium or cooperative
                                                                                    
                                                                                        Manufactured or mobile home
                                                                                                                                       Current value of the       Current value of the
          Allen                             TX        75002-0000                        Land                                          entire property?           portion you own?
          City                              State              ZIP Code                 Investment property                                 $735,000.00                   $735,000.00
                                                                                        Timeshare
                                                                                                                                       Describe the nature of your ownership interest
                                                                                        Other                                         (such as fee simple, tenancy by the entireties, or
                                                                                  Who has an interest in the property? Check one       a life estate), if known.

                                                                                        Debtor 1 only
          Collin                                                                        Debtor 2 only
          County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                        At least one of the debtors and another
                                                                                                                                          (see instructions)
                                                                                  Other information you wish to add about this item, such as local
                                                                                  property identification number:




   2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
      pages you have attached for Part 1. Write that number here...........................................................................=>                           $735,000.00


   Part 2: Describe Your Vehicles

  Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
  someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




  Official Form 106A/B                                                                  Schedule A/B: Property                                                                       page 1
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                                                                                              Exhibit "A"
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   Debtor 1        Muhammad Nasir Siddiqi                                                                             Case number (if known)         19-42834
  3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

      No
      Yes

    3.1    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                the amount of any secured claims on Schedule D:
           Model:      Tahoe                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
           Year:       2016                                       Debtor 2 only                                                Current value of the       Current value of the
           Approximate mileage:                   20000           Debtor 1 and Debtor 2 only                                   entire property?           portion you own?
           Other information:                                     At least one of the debtors and another

                                                                  Check if this is community property                                  $20,000.00                  $20,000.00
                                                                       (see instructions)



    3.2    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                the amount of any secured claims on Schedule D:
           Model:      Tahoe                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
           Year:       2016                                       Debtor 2 only                                                Current value of the       Current value of the
           Approximate mileage:                   20000           Debtor 1 and Debtor 2 only                                   entire property?           portion you own?
           Other information:                                     At least one of the debtors and another

                                                                  Check if this is community property                                  $20,000.00                  $20,000.00
                                                                       (see instructions)



    3.3    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                the amount of any secured claims on Schedule D:
           Model:      Super Duty                                 Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
           Year:       2015                                       Debtor 2 only                                                Current value of the       Current value of the
           Approximate mileage:                   50000           Debtor 1 and Debtor 2 only                                   entire property?           portion you own?
           Other information:                                     At least one of the debtors and another

                                                                  Check if this is community property                                  $30,000.00                  $30,000.00
                                                                       (see instructions)



    3.4    Make:       Lincoln                                   Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                the amount of any secured claims on Schedule D:
           Model:      Navigator                                  Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
           Year:       2019                                       Debtor 2 only                                                Current value of the       Current value of the
           Approximate mileage:                   10000           Debtor 1 and Debtor 2 only                                   entire property?           portion you own?
           Other information:                                     At least one of the debtors and another

                                                                  Check if this is community property                                  $90,000.00                  $90,000.00
                                                                       (see instructions)




  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

      No
      Yes


   5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
     .pages you have attached for Part 2. Write that number here.............................................................................=>                  $160,000.00


   Part 3: Describe Your Personal and Household Items
   Do you own or have any legal or equitable interest in any of the following items?                                                                    Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.



  Official Form 106A/B                                                       Schedule A/B: Property                                                                          page 2
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                                                                                        Exhibit "A"
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   Debtor 1       Muhammad Nasir Siddiqi                                                                   Case number (if known)   19-42834
  6. Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
      No
       Yes.     Describe.....

                                      sofa, tables, beds, dressers, chairs, rugs, televisions, etc                                                $10,000.00


  7. Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                including cell phones, cameras, media players, games
       No
       Yes.     Describe.....

  8. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                 other collections, memorabilia, collectibles
       No
       Yes.     Describe.....

  9. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
               musical instruments
       No
       Yes.     Describe.....

  10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
       Yes.     Describe.....

                                      1 pistol                                                                                                        $400.00


  11. Clothes
      Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
       Yes.     Describe.....

                                      clothes                                                                                                       $1,000.00


  12. Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
       Yes.     Describe.....

                                      watch, wifes jewelry                                                                                        $10,000.00


  13. Non-farm animals
      Examples: Dogs, cats, birds, horses
       No
       Yes.     Describe.....

  14. Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes.     Give specific information.....


   15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here ..............................................................................                       $21,400.00



  Official Form 106A/B                                                 Schedule A/B: Property                                                             page 3
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                                                                               Exhibit "A"
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   Debtor 1          Muhammad Nasir Siddiqi                                                                                            Case number (if known)    19-42834

   Part 4: Describe Your Financial Assets
   Do you own or have any legal or equitable interest in any of the following?                                                                                      Current value of the
                                                                                                                                                                    portion you own?
                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                    claims or exemptions.

  16. Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
       Yes................................................................................................................
  17. Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                    institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes........................                                     Institution name:


                                                17.1.                                              Chase bank - frozen                                                            Unknown



                                                17.2.                                              Texans Credit Union                                                              $300.00



                                                17.3.                                              Chase Accounts -wifes                                                            $300.00


  18. Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................                             Institution or issuer name:

  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
      joint venture
      No
       Yes.       Give specific information about them...................
                                         Name of entity:                                                                                % of ownership:

                                                    Hiba Entertainment, Inc. - out of business                                               100          %                             $0.00


  20. Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                                    Issuer name:

  21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each account separately.
                                                Type of account:                                   Institution name:

  22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                                                                 Institution name or individual:

  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............                Issuer name and description.


  Official Form 106A/B                                                                     Schedule A/B: Property                                                                       page 4
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                                                                                                       Exhibit "A"
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   Debtor 1       Muhammad Nasir Siddiqi                                                                    Case number (if known)     19-42834
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes.     Give specific information about them...

  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes.     Give specific information about them...

  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes.     Give specific information about them...

   Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

  28. Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......

  30. Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
                benefits; unpaid loans you made to someone else
       No
       Yes.     Give specific information..

  31. Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                           Beneficiary:                           Surrender or refund
                                                                                                                                          value:

  32. Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
      someone has died.
       No
       Yes.     Give specific information..


  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes.     Describe each claim.........

  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes.     Describe each claim.........



  Official Form 106A/B                                                 Schedule A/B: Property                                                                page 5
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                                                                               Exhibit "A"
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   Debtor 1         Muhammad Nasir Siddiqi                                                                                                Case number (if known)     19-42834
  35. Any financial assets you did not already list
       No
       Yes.      Give specific information..


   36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here.....................................................................................................................                       $600.00


   Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes.     Go to line 38.



   Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
              If you own or have an interest in farmland, list it in Part 1.


  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
         No. Go to Part 7.
         Yes.      Go to line 47.


   Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


  53. Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........

   54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                             $0.00

   Part 8:         List the Totals of Each Part of this Form

   55. Part 1: Total real estate, line 2 ......................................................................................................................                    $735,000.00
   56. Part 2: Total vehicles, line 5                                                                         $160,000.00
   57. Part 3: Total personal and household items, line 15                                                     $21,400.00
   58. Part 4: Total financial assets, line 36                                                                    $600.00
   59. Part 5: Total business-related property, line 45                                                             $0.00
   60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
   61. Part 7: Total other property not listed, line 54                                             +               $0.00

   62. Total personal property. Add lines 56 through 61...                                                    $182,000.00               Copy personal property total                $182,000.00

   63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                              $917,000.00




  Official Form 106A/B                                                               Schedule A/B: Property                                                                                  page 6
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                                                                                                Exhibit "A"
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                                                                  Document      Page 10 of 14

                           Case 19-42834         Doc 14     Filed 11/08/19     Entered 11/08/19 10:06:25        Desc Main Document     Page 9 of 57

   Fill in this information to identify your case:

   Debtor 1                 Muhammad Nasir Siddiqi
                            First Name                        Middle Name                    Last Name

   Debtor 2
   (Spouse if, filing)      First Name                        Middle Name                     Last Name


   United States Bankruptcy Court for the:              EASTERN DISTRICT OF TEXAS

   Case number           19-42834
   (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


  Official Form 106C
  Schedule C: The Property You Claim as Exempt                                                                                                                      4/19

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
  the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
  needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
  case number (if known).

  For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
  specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
  any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
  funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
  exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
  to the applicable statutory amount.

   Part 1:        Identify the Property You Claim as Exempt

   1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

         You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

         You are claiming federal exemptions.             11 U.S.C. § 522(b)(2)

   2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
        Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
        Schedule A/B that lists this property                    portion you own
                                                                 Copy the value from      Check only one box for each exemption.
                                                                 Schedule A/B

        6701 Haven Hurst Allen, TX 75002                                                                                           Tex. Const. art. XVI, §§ 50, 51,
        Collin County
                                                                       $735,000.00                                       $0.00
                                                                                                                                   Tex. Prop. Code §§
        Line from Schedule A/B: 1.1                                                            100% of fair market value, up to   41.001-.002
                                                                                                any applicable statutory limit

        2016 Ford Tahoe 20000 miles                                                                                                Tex. Prop. Code §§
        Line from Schedule A/B: 3.1
                                                                        $20,000.00                                  $1,000.00
                                                                                                                                   42.001(a)(1), (2), 42.002(a)(9)
                                                                                               100% of fair market value, up to
                                                                                                any applicable statutory limit

        sofa, tables, beds, dressers, chairs,                                                                                      Tex. Prop. Code §§
        rugs, televisions, etc
                                                                        $10,000.00                                $10,000.00
                                                                                                                                   42.001(a)(1), (2), 42.002(a)(1)
        Line from Schedule A/B: 6.1                                                            100% of fair market value, up to
                                                                                                any applicable statutory limit

        1 pistol                                                                                                                   Tex. Prop. Code §§
        Line from Schedule A/B: 10.1
                                                                            $400.00                                   $400.00
                                                                                                                                   42.001(a)(1), (2), 42.002(a)(7)
                                                                                               100% of fair market value, up to
                                                                                                any applicable statutory limit

        clothes                                                                                                                    Tex. Prop. Code §§
        Line from Schedule A/B: 11.1
                                                                         $1,000.00                                  $1,000.00
                                                                                                                                   42.001(a)(1), (2), 42.002(a)(5)
                                                                                               100% of fair market value, up to
                                                                                                any applicable statutory limit




  Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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                                                                                 Exhibit "A"
Case 21-04077                      Doc 16-6 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                   Desc Exhibit
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                          Case 19-42834         Doc 14      Filed 11/08/19    Entered 11/08/19 10:06:25     Desc Main Document         Page 10 of 57

   Debtor 1    Muhammad Nasir Siddiqi                                                                      Case number (if known)     19-42834
       Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
       Schedule A/B that lists this property                     portion you own
                                                                 Copy the value from    Check only one box for each exemption.
                                                                 Schedule A/B

       watch, wifes jewelry                                                                                                         Tex. Prop. Code §§
       Line from Schedule A/B: 12.1
                                                                       $10,000.00                               $10,000.00
                                                                                                                                    42.001(a)(1), (2), 42.002(a)(6)
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit


   3. Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
             No
             Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                    No
                    Yes




  Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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                                                                                 Exhibit "A"
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                                         Document      Page 12 of 14

         Case 19-42834         Doc 64     Filed 09/28/20 Entered 09/28/20 14:07:06
                                            Document     Page 1 of 2                      EOD
                                                                                            Desc Main

                                                                                          09/28/2020
                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

        IN RE:
                                                             Case No. 19-42834
        MUHAMMAD NASIR SIDDIQI                               Chapter 7

                                         Debtor

            AGREED ORDER REGARDING TRUSTEE’S OBJECTION TO EXEMPTIONS

                ON this day, came on for consideration, the Trustee’s Objection to Exemptions (the

       “Objection”) filed by Mark A. Weisbart, the duly appointed Chapter 7 Trustee (“Trustee”) for the

       estate of Muhammad Nasir Siddiqi (“Debtor”). The Court finds that an agreement has been

       reached by the Trustee and the Debtor, the terms which are contained herein; accordingly, it is

       hereby

                ORDERED that Debtor shall amend his Schedules B and C to indicate the correct

       description of the vehicles, including make, model and VIN# of each such vehicle, and which

       vehicle Debtor is claiming as exempt pursuant to Tex. Prop. Code §§ 42.001(a)(1), (2), 42.002(a)(9);

       it is further

                ORDERED that Debtor shall turn over the vehicle(s) which he is not claiming as exempt

       to the Trustee, together with their respective titles; it is further

                ORDERED that Debtor shall amend his Schedules B and C to include a detailed list of

       “sofa, tables, beds, dressers, chairs, rugs, televisions, etc” claimed as exempt under Tex. Prop.

       Code §§ 42.001(a)(1), (2), 42.002(a)(1); it is further

                ORDERED that Debtor shall amend his Schedules B and C to include a detailed list of

       “watch, wifes jewelry” claimed as exempt under Tex. Prop. Code §§ 42.001(a)(1), (2),

       42.002(a)(6); it is further




                                                     Exhibit "B"
Case 21-04077      Doc 16-6 Filed 01/14/22 Entered 01/14/22 21:47:06                               Desc Exhibit
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                                        Document      Page 13 of 14

        Case 19-42834        Doc 64      Filed 09/28/20 Entered 09/28/20 14:07:06          Desc Main
                                           Document     Page 2 of 2



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        WKH7UXVWHHDVUHTXLUHGKHUHLQZLWKLQGD\VHQWU\RIWKLV2UGHU



         IT IS SO ORDERED.



                                                           Signed on 9/28/2020

                                                                             SR
                                                HONORABLE BRENDA T. RHOADES,
                                                UNITED STATES BANKRUPTCY JUDGE




       AGREED:

       /s/ Mark A. Weisbart                                /s/ Eric A. Liepins
       Mark A. Weisbart                                    Eric A. Liepins
       Texas Bar No. 21102650                              Texas Bar No. 12338110
       THE LAW OFFICE OF MARK A. WEISBART                  ERIC A. LIEPINS, P.C.
       12770 Coit Road, Suite 541                          12770 Coit Road, Suite 1100
       Dallas, TX 75251                                    Dallas, TX 75251
       (972) 628-4903 Phone                                (972) 991-5591 Phone
       mark@weisbartlaw.net                                eric@ealpc.com
       COUNSEL FOR CHAPTER 7 TRUSTEE                       COUNSEL FOR DEBTOR




                                                   Exhibit "B"
        Case 21-04077                Doc 16-6 Filed 01/14/22 Entered 01/14/22 21:47:06                                   Desc Exhibit
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                 Case 19-42834           Doc 101        Filed 09/03/21         Entered 09/03/21 11:17:41              Desc Main
Label Matrix for local noticing                     Hershel R. Chapin
                                                       Document           Page 14 of 14                  Eric A. Liepins
0540-4                                              H. R. Chapin, Attorney & Counselor, PLLC             Eric A. Liepins, P.C.
Case 19-42834                                       4301 Alpha Rd.                                       12770 Coit Road
Eastern District of Texas                           Dallas, TX 75244-4405                                Suite 850
Sherman                                                                                                  Dallas, TX 75251-1364
Fri Sep 3 10:45:50 CDT 2021
Lakia’ S. McCline                                   PRA Receivables Management, LLC                      Sidney H. Scheinberg
400 N. Sam Houston Pkwy E. Suite 900A               PO Box 41021                                         Godwin Bowman PC
Houston, TX 77060-3548                              Norfolk, VA 23541-1021                               1201 Elm Street
                                                                                                         Suite 1700
                                                                                                         Dallas, TX 75270-2041

Tom Sharp                                           Muhammad Nasir Siddiqi                               US Trustee
Blalack & Williams, P.C.                            6701 Haven Hurst Ct.                                 Office of the U.S. Trustee
4851 LBJ Freeway, Suite 750                         Allen, TX 75002-3028                                 110 N. College Ave.
Dallas, TX 75244-6012                                                                                    Suite 300
                                                                                                         Tyler, TX 75702-7231

(p)MARK A WEISBART                                  Stephen Wilcox
ATTN THE LAW OFFICE OF MARK A WEISBART              Wilcox Law, PLLC
12770 COIT ROAD SUITE 541                           P.O. Box 201849
DALLAS TX 75251-1366                                Arlington, TX 76006-1849




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Mark A. Weisbart                                    (d)Mark A. Weisbart                                  (d)Mark A. Weisbart
The Law Office of Mark A. Weisbart                  The Law Office of Mark A. Weisbart                   The Law Office of Mark A. Weisbart
12770 Coit Road, Suite 541                          12770 Coit Road, Suite 541                           12770 Coit Road, Suite 541
Dallas, TX 75251                                    Dallas, TX 75251                                     Dallas, TX 75251


End of Label Matrix
Mailable recipients    10
Bypassed recipients     0
Total                  10
